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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                     )
QORVO, INC.                                          )
                               Plaintiff,            )
                                                     ) Case No. 1:21-01417-JPM
                       v.                            )
                                                     )
AKOUSTIS TECHNOLOGIES, INC. and                      ) DEMAND FOR JURY TRIAL
AKOUSTIS, INC.                                       )
                    Defendants.                      )
                                                     )
                                                     )
                                                     )
                                                     )


             DECLARATION OF TREVOR QUIST IN SUPPORT OF PLAINTIFF'S
             OBJECTION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE

I, Trevor Quist, declare as follows:

        1.      I am an active member of the California State Bar, admitted pro hac vice in this

matter, and an associate at the law firm of Sheppard, Mullin, Richter & Hampton L.L.P. I am

counsel for Plaintiff in the above captioned matter. The facts stated in this declaration are within

my personal knowledge and are true and correct.

        2.      Attached as Exhibit A is a true and accurate copy of the “Wireless Watch”

publication containing the language Qorvo quoted in its First Amended Complaint (see D.I. 28, ¶

64), dated December 21, 2021 and entitled “Akoustis seeks to disrupt the growing market for

BAW filters,” available at a webpage which I last accessed on March 25, 2022 using the

following link: https://rethinkresearch.biz/articles/akoustis-seeks-to-disrupt-the-growing-market-

for-baw-filters/.
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    Executed this 25th day of March, 2022.


                                 /s/ Trevor Quist
                                     Trevor Quist
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

March 25, 2022, upon the following in the manner indicated:

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                                                   /s/ Jeremy A. Tigan

                                                   Jeremy A. Tigan (#5239)
